            Case 2:10-cr-00299-WBS Document 511 Filed 08/01/16 Page 1 of 3


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 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     CASE NO. 2:10-CR-00299-07 WBS
12                                  Plaintiff,     STIPULATION REGARDING EXCLUDABLE
                                                   TIME PERIODS UNDER SPEEDY TRIAL
13                           v.                    ACT; [PROPOSED] FINDINGS AND ORDER
14   LOUIE SALAZAR,                                DATE: August 8, 2016
                                                   TIME: 9:00 a.m.
15                                  Defendant.     COURT: Hon. William B. Shubb
16

17                                            STIPULATION

18         Plaintiff United States of America, by and through its counsel of record, and

19 defendant, by and through defendant’s counsel of record, hereby stipulate as follows:

20         1.     By previous order, this matter was set for status on August 8, 2016.

21         2.     By this stipulation, defendant now moves to continue the status conference

22 until August 29, 2016 at 9:00 a.m., and to exclude time between August 8, 2016, and

23 August 29, 2016, under Local Code T4.

24         3.     The parties agree and stipulate, and request that the Court find the

25 following:

26                a)      Counsel for defendant desires additional time to consult with his

27         client, conduct investigation and research related to the charges, review the

28         discovery, discuss potential resolution, and otherwise prepare for trial.


      STIPULATION REGARDING EXCLUDABLE TIME        1
30    PERIODS UNDER SPEEDY TRIAL ACT
           Case 2:10-cr-00299-WBS Document 511 Filed 08/01/16 Page 2 of 3


 1               b)      Specifically, in December 2015, the defendant requested additional

 2        discovery from the United States and the United States produced the requested

 3        discovery.

 4               c)      In response, on July 27, 2016, the defendant provided mitigating

 5        evidence and documentation to the United States. Counsel for the defendant and

 6        the United States are currently engaged in discussions regarding potential

 7        resolution of this matter. These discussions involve further research and

 8        investigation by both the defendant and the United States.

 9               d)      Counsel for defendant believes that failure to grant the above-

10        requested continuance would deny him the reasonable time necessary for effective

11        preparation, taking into account the exercise of due diligence.

12               e)      Although the Indictment was filed in 2010, the defendant was not

13        arrested until December 2014. The defendant is currently out of custody and being

14        supervised by the Pretrial Services Officer.

15               f)      The government does not object to the continuance.

16               g)      Based on the above-stated findings, the ends of justice served by

17        continuing the case as requested outweigh the interest of the public and the

18        defendant in a trial within the original date prescribed by the Speedy Trial Act.

19               h)      For the purpose of computing time under the Speedy Trial Act, 18

20        U.S.C. § 3161, et seq., within which trial must commence, the time period of August

21        8, 2016 to August 29, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§

22        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted

23        by the Court at defendant’s request on the basis of the Court’s finding that the ends

24        of justice served by taking such action outweigh the best interest of the public and

25        the defendant in a speedy trial.

26        IT IS SO STIPULATED.

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     STIPULATION REGARDING EXCLUDABLE TIME        2
30   PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:10-cr-00299-WBS Document 511 Filed 08/01/16 Page 3 of 3

     Dated: July 28, 2016                         PHILLIP A. TALBERT
 1                                                Acting United States Attorney
 2
                                                  /s/ JUSTIN L. LEE
 3                                                JUSTIN L. LEE
                                                  Assistant United States Attorney
 4

 5 Dated: July 28, 2016                           /s/ MICHAEL BIGELOW
                                                  MICHAEL BIGELOW
 6
                                                  Counsel for Defendant
 7                                                LOUIE SALAZAR

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 9
10                            [PROPOSED] FINDINGS AND ORDER

11         IT IS SO FOUND AND ORDERED.

12 Dated: August 1, 2016

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      STIPULATION REGARDING EXCLUDABLE TIME   3
30    PERIODS UNDER SPEEDY TRIAL ACT
